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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                           ALEXANDRIA DIVISION


                                          )
 VIRGINIA INNOVATION SCIENCES, INC.,      ) The Honorable Liam O’Grady
                                          )
                   Plaintiff,             )
                                          ) Case No. 1:16-CV-00861(LO-MSN)
             v.                           )
                                          )
 AMAZON.COM, INC.,                        )
                                          )
                   Defendant.             )
                                          )


              MEMORANDUM OF DEFENDANT AMAZON.COM, INC.
               IN SUPPORT OF ITS MOTION FOR REASONABLE
                    ATTORNEY FEES UNDER 35 U.S.C. § 285
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 I.        INTRODUCTION

           VIS never had a viable claim for relief. Undeterred, VIS elected a scattershot approach

 against Amazon—asserting eleven patents against three entirely unrelated technologies—to coerce

 a settlement. But its patents were either invalid or had nothing to do with the technologies VIS

 accused. Indeed, the Court invalidated eight of the eleven asserted patents on the pleadings under

 § 101, and, following claim construction, VIS was forced to stipulate that Amazon could not in-

 fringe one of the remaining three patents. And although the claim construction order foreclosed

 VIS’s remaining claims, VIS continued prosecuting them, forcing Amazon to spend hundreds of

 thousands of dollars to defend against them. The case finally ended when the Court granted Am-

 azon summary judgment on all remaining claims. The Court found one patent invalid under § 101,

 and another not infringed as a matter of law. This case is exceptional, and Amazon respectfully

 requests that the Court award it the attorneys’ fees it reasonably incurred in defending this meritless

 case.

 II.       BACKGROUND

           VIS is a patent speculator with a history of filing patent lawsuits, under different names,

 against true innovators.1 This action is yet another attempt to extort money, this time from one of

 the world’s most innovative companies—Amazon. (See Declaration of Laura Anne Kuykendall




       1
       See, e.g., Va. E-Commerce Solutions, LLC. v. eBay, Inc., No. 1:10-cv-1229-LMB-IDD (E.D.
 Va.); SellerBid, Inc. v. Groupon, Inc., No. 1:11-cv-768-LMB-TRJ (E.D. Va.); Va. Innovation Scis.,
 Inc. v. Samsung Elecs. Co., No. 2:12-cv-548-MSD-TEM (E.D. Va.), Va. Innovation Scis., Inc. v.
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 sung Elecs. Co., No. 2:14-cv-217-MSD-LRL (E.D. Va.); Va. Innovation Scis., Inc. v. LG Elecs,
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 1350-LO-IDD (E.D. Va.); Va. Innovation Scis., Inc. v. HTC Corp., No. 3:17-cv-560-JAG (E.D.
 Va.).
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 (“Kuykendall Decl.”), Ex. 1 (https://www.fastcompany.com/3067455/why-amazon-is-the-worlds-

 most-innovative-company-of-2017).)

        VIS filed its original complaint against Amazon in this case on July 5, 2016. (Dkt. No. 1.)

 In it, VIS asserted ten patents. Eight of those patents were from the same patent family—the ’492

 patent family.2 VIS alleged that Amazon’s Fire Phone, Kindle Fire, Fire TV, and Fire Stick prod-

 ucts infringed the asserted claims of the ’492 patent family. VIS also alleged that the Fire TV and

 Fire Stick infringed U.S. Patent No. 8,135,398 (the “’398 patent”) and that the Amazon Dash But-

 ton infringed U.S. Patent No. 9,369,844 (the “’844 patent”). And VIS alleged that the Amazon

 Pay service infringed U.S. Patent Application No. 13/230,657, which was then pending at the Pa-

 tent Office. That application issued as U.S. Reissue Patent No. RE46,140 (the “’140 patent”) on

 September 6, 2016. VIS amended its complaint to allege infringement of the ’140 patent on Jan-

 uary 11, 2017. (Dkt. No. 59.)

        A.      The Court Dismissed the ’492 Patent Family Claims on the
                Pleadings.

        On September 14, 2016, Amazon filed a motion to dismiss VIS’s claims of infringement

 of the ’492 patent family for failure to allege a patentable claim. (Dkt. No. 22.) On January 5,

 2017, the Court granted Amazon’s motion, concluding that the patents were ineligible under 35

 U.S.C. § 101. (Dkt. No. 57 at 32; see also Va. Innovation Scis. v. Amazon.com, Inc., 227 F. Supp.

 3d 582 (E.D. Va. 2017).) In doing so, the Court noted that the claims lacked “an innovative con-

 cept,” were “purely functional” in nature, and improperly threatened a “sweeping universe of

 preemption.” (Dkt. No. 57 at 16, 32.)




    2
      These patents are U.S. Patent Nos. 7,899,492, 8,050,711, 8,903,451, 8,948,814, 9,118,794,
 8,712,471, 9,286,853, and 9,355,611 (collectively, the “’492 patent family”).



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            B.     The Court Granted Amazon Summary Judgment on VIS’s
                   Remaining Claims, Finding Them Either Invalid or Not
                   Infringed.

            After the Court issued its claim construction order, VIS stipulated to non-infringement of

 the ’844 patent by Amazon’s Dash Button. (Kuykendall Decl., Ex. 2, Letter from W. Bradley to

 D. Hadden dated August 24, 2017; Dkt. No. 203 at 8.)3 But VIS, continued to prosecute its re-

 maining infringement claims on the ’140 and ’398 patents, even though they too were foreclosed

 by the Court’s claim construction order.

            Accordingly, Amazon was forced to proceed through summary judgment to dispose of the

 remaining claims. On December 22, 2017, the Court granted Amazon’s motion, finding that the

 ’398 patent was not infringed and the ’140 patent, which barely survived dismissal on the plead-

 ings, was invalid. (Dkt. No. 203.) The Court noted that VIS’s litigating position in this case

 ignored the claim requirements of the ’398 patent and that VIS could not identify an inventive

 concept in the claims or the specification of the ’140 patent. (Id. at 4-5, 12.) Nothing in VIS’s

 case survived.

 III.       VIS’S CONDUCT RENDERS THIS CASE EXCEPTIONAL.

            The Patent Act provides that “[t]he court in exceptional cases may award reasonable attor-

 ney fees to the prevailing party.” 35 U.S.C. § 285. The party seeking fees must prove that the

 case is “exceptional” by a preponderance of the evidence. This determination is committed to the


        3
       Rather than walking away from its infringement claim of this patent, however, on September
 12, 2017, VIS served a new complaint, filed against Amazon on August 8, asserting that a different
 Amazon product, the Dash Replenishment Service, infringed the ’844 patent. See Va. Innovation
 Scis. v. Amazon.com, Inc., No. 2:17-cv-422-MSD-RL (E.D. Va.) (“VIS II”); (Kuykendall Decl.,
 Ex. 3 (VIS II, Dkt. No. 1); id. Ex. 4 (VIS II, Dkt. No. 9).) In this new action, VIS also asserted the
 ’398 patent against previously non-accused Amazon Fire Tablets and accused several Amazon
 products of infringing two newly issued VIS patents. (Id. Ex. 3 (VIS II, Dkt. No. 1).) VIS volun-
 tarily dismissed that second case before Amazon could even answer the complaint—implicitly
 acknowledging that it had no basis to continue it.



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 discretion of the district court and is based on the totality of the circumstances. Octane Fitness,

 LLC v. ICON Health & Fitness, Inc., 134 S. Ct. 1749, 1756 (2014). “[A]n ‘exceptional’ case is

 simply one that stands out from others with respect to the substantive strength of a party’s litigating

 position (considering both the governing law and the facts of the case) or the unreasonable manner

 in which the case was litigated.” Id. “Section 285 discourages certain ‘exceptional’ conduct by

 imposing the cost of bad decisions on the decision maker.” Cambrian Sci. Corp. v. Cox Commc’ns,

 Inc., 79 F. Supp. 3d 1111, 1114 (C.D. Cal. 2015).

        Here, there can be no dispute that Amazon is the prevailing party: the Court dismissed all

 of VIS’s claims and has since entered judgment in favor of Amazon and against VIS. (Dkt. Nos.

 57, 203, 206.) And courts have found cases exceptional where, like here, “[the] suit never should

 have been filed.” Rothschild Connected Devices Innovations, LLC v. Guardian Prot. Servs., 858

 F.3d 1383, 1391 (Fed. Cir. 2017) (J. Mayer concurring); see also Lumen View Tech. LLC v.

 Findthebest.com, Inc., 811 F.3d 479, 483 (Fed. Cir. 2016) (affirming district court’s finding that

 the case was exceptional because “[t]he allegations of infringement were ill-supported . . . and thus

 the lawsuit appears to have been baseless”). Courts have also found cases exceptional where, like

 here, the patentee continued to litigate after claim construction ended any reasonable likelihood of

 prevailing on the merits. AdjustaCam, LLC v. Newegg, Inc., 861 F.3d 1353, 1360 (Fed. Cir. 2017)

 (finding case exceptional because while plaintiff “may have filed a weak infringement lawsuit, . . .

 [its] suit became baseless after the district court’s Markman order”); see also Intex Recreation

 Corp. v. Team Worldwide Corp., 77 F. Supp. 3d 212, 217 (D.D.C. 2015) (awarding fees because

 the court’s claim construction “foreclosed any reasonable argument” that the accused product in-

 fringed).




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         VIS’s conduct in filing and maintaining this case was unreasonable and rendered this case

  exceptional. VIS ignored the operation of the technology it accused, proposed claim constructions

  divorced from the claimed inventions to fit its infringement theories, and then, when those claim

  constructions were rejected, failed to apply the claim constructions ordered by the Court. And VIS

  maintained that its patents were valid under § 101 when it knew that the patents did not claim

  specific technical solutions required for a patent eligibility. The Court should award Amazon the

  fees it reasonably incurred in defending this meritless lawsuit.

         A.      VIS Based Its ’844 Patent Infringement Position on a Claim
                 Interpretation that the Patent Did Not Support.

         VIS’s infringement theory for the ’844 patent lacked merit from the start. The patent dis-

  closes a diaper monitoring system in which a diaper has “a sensor [that] reads the wetness and

  other qualities of the diaper and sends a corresponding update to alert the appropriate caregiver

  that the diaper needs changing,” allowing the system to automatically order more diapers. (Dkt.

  No. 139 at 25.) VIS accused Amazon’s Dash Button—not a diaper monitoring system or a product

  that monitors anything at all, but a small physical device linked to a particular product that a cus-

  tomer can order by pressing a button on the device. (See id.; Dkt. No. 121-5.)

         The patent requires that the monitoring system “transmit[], through a wireless transmission

  channel, an item status signal to provide information regarding an updated condition of a mer-

  chandise.” (Dkt. No. 139 at 26 (emphasis in original).) To read this claim requirement on the

  Dash Button, VIS took the implausible position that “item status signal” and “an updated condition

  of a merchandise” in the patent’s claims could mean “anything related to the merchandise”—i.e.,

  despite the clear language of the claims, these claim terms need not convey information about an

  item’s status or condition. (Id. at 30, 33.) VIS then asserted that the Dash Button transmits infor-




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  mation regarding both the status of the merchandise and the updated condition of the merchan-

  dise—even though the Dash Button only transmits information about the button itself (i.e., the

  button’s unique identifier) and nothing about the product associated with the button, much less the

  item’s status or updated condition of the product. (See id. at 30; Dkt. No. 121-5.)

         In the claim construction order, the Court rejected VIS’s “anything related” to the mer-

  chandise theory, finding VIS’s litigation position “aggressive” and its constructions (under the

  guise of plain and ordinary meaning) “inappropriately broad,” “contrary to the overwhelming

  thrust of the patent,” and failing to give effect to the term “updated.” (Dkt. No. 139 at 30, 31, 33.)

  The Court also noted that the asserted ’844 patent claims lacked written description under 35

  U.S.C. § 112 because the claimed “automatic purchasing is not described at any point in the spec-

  ification” and the specification and claims “give no hint” of “a single device that both sends the

  item status signal and initiates a purchase of the merchandise.” (Id. at 27-28, 37.)

         After the Court issued its order, VIS was forced to stipulate to non-infringement of the ’844

  patent. But it should have never asserted the patent in the first place, as it never had a plausible

  basis to do so. VIS’s misconduct is even broader than that, though. Three weeks after the Court

  noted in its claim construction order that the ’844 patent was implicitly invalid under 35 U.S.C.

  § 112 because it included “no description of [the claimed] combined device in the specifications,

  [and] it [was] nearly impossible to tell how it would work,” VIS served a new complaint against

  Amazon asserting the very same patent yet again. (Dkt. No. 139 at 28; Kuykendall Decl., Ex. 3

  (Dkt. No. 1, VIS II).) VIS’s meritless assertion of the ’844 patent makes this case exceptional.

  See, e.g., Segan LLC v. Zynga Inc., 131 F. Supp. 3d 956, 962-963 (N.D. Cal. 2015) (finding it

  “obvious that the [asserted] patent’s system for browsing the Internet . . . did not cover the act of

  playing [defendant’s] games,” and that plaintiff’s “claim construction positions and infringement




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  theory were so unreasonable as to make this case ‘exceptional’”); Kinglite Holdings, Inc. v. Micro-

  Star Int’l Co., No. CV 14-03009 JVS (PJWx), 2016 U.S. Dist. LEXIS 113284, at *29-30 (C.D.

  Cal. June 23, 2016) (finding case exceptional because a pre-filing investigation would have shown

  that defendant’s product did not have all the necessary components claimed by the patent).

         B.      VIS Based Its ’398 Patent Infringement Position on a Gross
                 Disregard of the Claim Requirements, the Way the
                 Accused Technology Operates, and the Court’s
                 Constructions.

         VIS’s infringement theory for the ’398 patent could not work under any plausible interpre-

  tation of that patent’s claims. As the Court recognized, claim 1 requires “six component parts: (1)

  multimedia content (e.g., a YouTube video) is received by a ‘wireless terminal device [sic] (e.g.,

  a cell phone) through a wireless communication network (e.g., Verizon); (2) the multimedia con-

  tent is converted to a format that is compatible with the ‘destination device’ (e.g., a television); (3)

  the multimedia content is sent to a television; (4) it is sent by establishing a ‘predetermined chan-

  nel’ of communication with the television; (5) after establishing the channel, the multimedia con-

  tent is transported through that channel; so that (6) it may be displayed on the television in con-

  junction ‘with a navigational command to the destination device for the predetermined channel.’”

  (Dkt. No. 139 at 8; Dkt. No. 203 at 3.) The other asserted claims are of similar scope. Indeed, all

  asserted claims require “receiving a multimedia content item originated from a source located out-

  side a designated location and destined for a destination device located within the [home/desig-

  nated] location.” (See, e.g., Dkt. No. 139 at 8, 11.) VIS’s theory that the destination of the device

  could be determined after the multimedia content is received by the wireless terminal device ig-

  nored this claim language. As the Court recognized, “the claims make clear that the destination

  device must be established as the destination before the media content is received [and] [i]f the

  free will of the cell phone’s user can dictate the destiny of the multimedia content item, then it is



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  no longer within the scope of the claims.” (Id. at 14.) Despite this clear requirement of both the

  claims and the Court’s claim construction order, VIS contended that the destination device can be

  determined by the will of the cell phone’s user: “Much like an orchestra is directed by a conductor,

  here the multimedia content is ‘directed’ to the TV by the user device.” (Dkt. No. 158 at 10; Dkt.

  No. 203 at 5.) In the summary judgment order, the Court properly rejected this argument as in-

  consistent with the claims, as “VIS’s own description suggests that it is the user, not an external

  source, which directs the destiny of the multimedia content item.” (Dkt. No. 203 at 5.)

          In its claim construction order, the Court also held that in the asserted claims “the multi-

  media content item” received from the wireless terminal device must be “in the format received

  by the wireless terminal device from the source.” (Dkt. No. 139 at 22.) VIS again ignored the

  Court’s construction. It continued to maintain that the accused products infringe because they

  employ the Miracast industry standard even though it was, and still is, undisputed that when the

  user transmits the multimedia content from a phone to the Fire TV or TV Stick using the cell

  phone’s Miracast Wi-Fi feature, what is transmitted is not what is received by the cell phone nor

  in the same format. Instead, “Miracast transmits a new video[,] . . . stream [that] is generated lo-

  cally at the cell phone; the phone screen itself is forwarded.” (Dkt. No. 203 at 6 (emphasis in

  original).)

          VIS should have known before filing suit that its Miracast infringement theory for the ’398

  patent was fatally defective; indeed, detailed documentation about the standard Miracast technol-

  ogy VIS accused was readily available to VIS before it filed this case. VIS’s decision to assert its

  claims on the ’398 patent renders this case exceptional. See, e.g., Lumen View Tech. LLC v.

  Findthebest.com, Inc., 24 F. Supp. 3d 329, 335-36 (S.D.N.Y. 2014) (finding the case exceptional

  because a basic pre-suit investigation would have revealed that no litigant could have expected




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  success on the merits), aff’d, 811 F.3d 479 (Fed. Cir. 2016). And even if VIS somehow believed

  it could prevail when it filed its complaint, it should have known that its infringement theory was

  baseless after the Court issued its claim construction order. VIS’s decision to continue to prosecute

  its claims in the face of a claim construction order that foreclosed its infringement claim likewise

  renders this case exceptional. AdjustaCam, LLC, 861 F.3d at 1360.

         What’s more, even if VIS did not realize what the Court’s claim construction order re-

  quired, it should have figured that out on August 22, 2017, when Amazon’s counsel sent a letter

  to VIS’s counsel explaining that VIS lacked a Rule 11 basis for its ’398 patent infringement claims.

  (Kuykendall Decl., Ex. 5.) VIS still refused to dismiss its claim. It refused even though it knew

  that it failed to develop any evidence identifying “any third party who actually used their cell phone

  to stream content received from their cellular network to their accused Fire TV or Stick device to

  view the content on a television”—thus failing to develop any evidence supporting any claim of

  direct infringement and, consequently, any claim of indirect infringement. (Dkt. No. 203 at 7.)

  VIS’s unreasonable decision to pursue its claims for infringement of the ’398 patent even after

  receiving notice that its claims could not succeed also renders this case exceptional. See Intex

  Recreation, 77 F. Supp. 3d at 217 (finding case exceptional where plaintiff refused defendant’s

  proposal to stipulate to non-infringement under the court’s claim construction and argued positions

  at summary judgment that contradicted the court’s constructions).

         C.      VIS Asserted the ’140 Patent Even Though It Knew the
                 Patent Could Not Survive Under Section 101.

         VIS’s infringement claim for the ’140 patent also lacked merit. The patent is ineligible on

  its face, and VIS knew that before asserting it. Amazon moved to dismiss VIS’s claim for in-

  fringement of the ’140 patent for failure to claim patent-eligible subject matter under § 101 because




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  the patent claimed nothing more than the abstract idea of securely processing credit card transac-

  tions with a payment server. (Dkt. Nos. 62-63.) VIS opposed the motion, arguing repeatedly that

  the patent claimed a novel means of “switching” a buyer from one server to a more secure payment

  server, and that this rendered the patent non-abstract and inventive. (See Dkt. No. 76 at 3, 8-9, 18,

  20, 22-23.) VIS contended that the specification “detail[ed] the novel switching procedure.” (Id.

  at 20.) But, VIS plainly mischaracterized the patent, as it disclosed no such solution. (Dkt. No.

  78 at 4.) Indeed, Ms. Tiehong Wang, an officer of VIS and a named inventor on the ’140 patent,

  could provide no explanation of the claimed switching:

                 Q So how in your patent is the buyer switched from the web DB
                 server to the payment server?
                 A (Peruses document.) Information related with this step is every-
                 where in the spec. That must be understood and read based on the
                 entirety of the spec, and must be understood and practiced by the
                 ordinary skilled in the art at the time of invention.
                 Q Can you answer the question?
                 A I just did.
                 Q No. Answer the question. How in your patent is the buyer
                 switch[ed] . . . [from] the web DB server to the payment server, how
                 is that achieved?
                 A That is achieved by the information provided by the entirety of
                 the spec.
                 ...
                 Q Well, describe it to me. How is that done? Technically how is
                 that achieved? The switching, tell me how it works.
                 A Technically?
                 Q Yes, technically, how did you invent a system to switch the buyer
                 from the web DB server to the payment server? What was your
                 technical solution?
                 A I don’t have a technical degree, and the required qualification to
                 answer technical questions related with the switching.

  Kuykendall Decl., Ex. 6 (Tr. 209:3-18, 210:3-13.) Even VIS’s technical expert admitted at his

  deposition that the specification “is silent” on how “the buyer is shifted.” (Dkt. 169-10, Ex. 9 at

  103:18-105:24.)




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         In light of VIS’s misrepresentation of the ’140 patent specification, however, the Court,

  despite its “significant questions as to [the] patent eligibility” of the ’140 patent and the patent’s

  “broad functional language,” deferred resolution of § 101 invalidity until after claim construction,

  when it could more fully consider the issue in view of the disclosures of the patent. (Dkt. No. 79.)

  When it did so, the Court’s claim construction order confirmed what VIS’s witnesses already knew

  and what should have been apparent to VIS from the beginning: VIS had no plausible basis to

  maintain that the ’140 patent was patentable. (See Dkt. No. 139 at 46.) Specifically, the Court

  found a “lack of detail concerning the term ‘switched’” in the ’140 patent and that the “meaning

  of ‘switching’” was “unclear.” (Id.) The claim construction order not only established that the

  patent was invalid under Section 101, but also under Section 112 for lack of written description.

         Yet VIS continued to prosecute its claim until this case concluded with the Court’s sum-

  mary judgment order confirming that the ’140 patent failed to disclose an inventive technical so-

  lution: “Although VIS claims the result of securely processing a credit card transaction with a

  payment server, the ’140 patent does not disclose or claim any new or improved technology for

  achieving the result.” (Dkt. No. 203 at 10-11.) And even though VIS claimed that the act of

  “switching” was the ’140 patent’s inventive step under step two of Alice Corp. Pty. Ltd. v. CLS

  Bank Int’l, 134 S. Ct. 2347 (2014), VIS failed to identify in the patent “any new or improved

  technology for achieving it . . . [or] how the switching is accomplished.” (Dkt. No. 203 at 12

  (emphasis in original).)

         The ’140 patent, on its face, claims ineligible subject matter. VIS knew when it first as-

  serted it, and certainly after the Court’s claim construction order confirming that it was invalid

  under § 101. VIS’s conduct of continuing to prosecute its claims—and forcing Amazon to defend




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  those claims—through summary judgment—gives rise to attorney fees under Section 285.4 See

  Inventor Holdings, LLC v. Bed Bath & Beyond, Inc., 876 F.3d 1372, 1379-80 (Fed. Cir. 2017)

  (affirming district court’s exceptional case finding where, post-Alice, plaintiff should have recog-

  nized that the patent claimed unpatentable subject matter); Shipping & Transit, LLC v. Hall En-

  ters., No. 16-06535-AG-AFM, 2017 U.S. Dist. LEXIS 109122, at *19 (C.D. Cal. July 5, 2017)

  (“The weakness of Plaintiff’s § 101 position is a significant factor that weighs in favor of a finding

  that this case is ‘exceptional’ under 35 U.S.C. § 285.”); Gust Inc. v. Alphacap Ventures, LLC, 226

  F. Supp. 3d 232, 241 (S.D.N.Y. 2016) (awarding fees where claims were frivolous and objectively

  unreasonable in light of Alice).

         D.      VIS Asserted the Obviously Invalid ’492 Patent Family.

         VIS’s assertion of the ’492 patent family in this case was similarly unreasonable in light of

  the Supreme Court’s patentability requirements in Alice. As the Court noted in its order granting

  Amazon’s motion to dismiss, VIS failed to meaningfully dispute that under step one of Alice, the

  ’492 patent family is directed to an “abstract idea”—“the generalized problem of reproducing a



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       VIS’s infringement theory for the ’140 patent was also extremely weak. The patent purports
  to cover a method of enabling purchasers to make secure online credit card payments by “switch-
  ing” the buyer from a less secure connection with a merchant server after the buyer makes “an
  indication to buy the one or more of the items” to a more secure encrypted connection with a
  payment server. (Dkt. No. 139 at 44-45; see also Dkt. No. 166 at 15.) VIS asserted that Amazon
  Pay—an online service that allows pre-existing Amazon users to make purchases on non-Amazon
  merchant websites—infringes the ’140 patent. But during the litigation, VIS failed to identify a
  single instance where a user, after making an indication to buy, was switched from a less secure
  connection with a merchant website to a more secure encrypted connection to an Amazon server.
  (See Dkt. No. 166 at 15-21.) In the only example of infringing use VIS presented, the buyer was
  switched from a secure HTTPS connection with the merchant site to another equally secure
  HTTPS connection with the Amazon payment server. (See id. at 15-17.) VIS’s argument that the
  limitation could be met if there was any less secure connection with the merchant server at any
  point of time before the user entered credit card information (i.e., several web pages before the
  switch) borders on frivolous and is contrary to the patent’s claim language and purpose. VIS had
  no reasonable basis to assert infringement of the ’140 patent in this case.



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  video from a mobile phone on a separate display device.” (Dkt. No. 57 at 18-20.) The Court also

  found that under step two of Alice, the patents failed to claim any “inventive concept” that would

  transform this abstract idea into a patentable invention. (Id. at 20.) It noted that there are no

  limitations on the mobile device and separate display device recited in the claims, and the inter-

  mediary device (the “MTSCM”) placed between the two “only contains functional language rather

  than specific instructions,” and thus “describes an ends rather than a means.” (Id. at 23-24; see

  also id. at 32 (“[T]he MTSCM’s placement between ubiquitous conventional devices preempts

  future innovation in the field of mobile-to-HDTV conversion . . . preemption remain[ing] the guid-

  ing principle of the § 101 inquiry . . . .”).) Indeed, VIS could not point to any description in either

  the shared specification or the patents’ claims of any new device, architecture, or process. (See

  Dkt. No. 37 at 4-10; Dkt. No. 57 at 31-32.) VIS should not have asserted infringement of the ’492

  patent family in this case given the “the weakness of its case under Alice.” Inventor Holdings, 876

  F.3d at 1379-80.

         Considering the totality of the circumstances, this is an exceptional case under Section 285.

  The “substantive strength of [VIS’s] litigating position” was exceptionally weak on all claims, and

  it was improper for VIS to even file this action. Octane Fitness, 134 S. Ct. at 1756. Moreover,

  VIS litigated this case in an “unreasonable manner” by needlessly prolonging the case after the

  Court’s claim construction order made clear that VIS had no reasonable chance of prevailing on

  its remaining claims. Id. Both grounds make this case exceptional.

  IV.    THE COURT SHOULD AWARD AMAZON THE ATTORNEY FEES IT
         REASONABLY INCURRED DEFENDING THIS CASE.

         The amount and calculation of reasonable attorney fees under Section 285 is committed to

  the discretion of the district court. Lumen, 811 F.3d at 483; see also Perdue v. Kenny A. ex. rel.

  Winn, 559 U.S. 542, 558 (2010). Congress had two objectives in enacting Section 285: (1) to



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  provide a deterrent to frivolous or unnecessary patent litigation, and (2) to serve a compensatory

  purpose for parties injured by such litigation. Raylon, LLC v. Complus Data Innovations, Inc.,

  700 F.3d 1361, 1372-73 (Fed. Cir. 2012). And “[t]here is nothing in the legislative history or

  applicable case law to suggest that . . . courts should balk at awarding full fees.” Kilopass Tech.,

  Inc. v. Sidense Corp., 82 F. Supp. 3d 1154, 1166 (N.D. Cal. 2015).

         Where a court finds a case exceptional on the basis of litigation misconduct, the amount of

  the award must relate to the misconduct. Rambus Inc. v. Infineon Techs. AG, 318 F.3d 1081, 1106

  (Fed. Cir. 2003). But, a court may award the full cost of defense where it finds the case exceptional

  based on the totality of the circumstances, including because the plaintiff brought a meritless case.

  See Homeland Housewares, LLC v. Sorensen Research, 581 F. App’x 877, 881 (Fed. Cir. 2014)

  (affirming amount of awarded attorney’s fees “because it is the ‘totality of the circumstances,’ and

  not just discrete acts of litigation conduct, that justify the court’s award of fees”) (quoting Octane,

  134 S. Ct. at 1756); Kilopass, 82 F. Supp. 3d at 1166 (detailing case law establishing that the award

  of full fees is consistent with the purpose of Section 285).

         This Court should award Amazon its full costs of defense. None of VIS’s infringement

  claims was ever viable. And if VIS had given the Court’s claim construction due respect, agreed

  to Amazon’s proposal to stipulate to non-infringement for the ’398 patent, and withdrawn its in-

  fringement claim for the ’140 patent, this lawsuit would have been over in August of last year and

  Amazon would have been spared the cost of its litigation after the claim construction order. Am-

  azon’s post-claim construction costs included, among other things, supplementation of expert re-

  ports, taking and defending several depositions, summary judgment briefing, preparation of pre-

  trial disclosures, other trial preparation, and travel and attendance at the final pretrial conference

  and summary judgment hearing. Awarding the full amount of Amazon’s attorney fees incurred




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  during the case satisfies Section 285’s dual purpose of providing a deterrent to VIS’s “frivolous

  [and] unnecessary patent litigation” and compensating Amazon for its injury from defending

  against VIS’s baseless claims. Kilopass, 82 F. Supp. 3d at 1165; Raylon, 700 F.3d at 1372-73.

         “In calculating an attorney fee award, a district court usually applies the lodestar method,

  which provides a presumptively reasonable fee amount by multiplying a reasonable hourly rate by

  the reasonable number of hours required to litigate a comparable case.” Lumen, 811 F.3d at 483

  (internal citations omitted). “This method has been characterized as ‘readily administrable’ and

  ‘objective,’ but ‘not perfect’ and ‘never intended to be conclusive in all circumstances.’” Id. (quot-

  ing Perdue, 559 U.S. at 551-52, 554).5

         Reasonable hourly rates for determining the lodestar figure are the “prevailing market rates

  in the relevant community.” Blum v. Stenson, 465 U.S. 886, 895 (1984). In general, this is meas-

  ured by the prevailing rate in the forum. Bywaters v. United States, 670 F.3d 1221, 1233 (Fed.

  Cir. 2012). The Alexandria Division has used the prevailing market rates of attorneys’ rates in

  Northern Virginia. Am. Bird Conservancy v. U.S. Fish & Wildlife Serv., 110 F. Supp. 3d 655, 673

  (E.D. Va. 2015). To determine whether rates for complex commercial cases, such as this one, in

  this division are reasonable, the Court has found the matrix of hourly rates set forth in Vienna

  Metro LLC v. Pulte Home Corp., No. 10–cv–502, Dkt. 263 (E.D. Va. Aug. 24, 2011) (“Vienna

  Metro”) “to be persuasive evidence of an appropriate range for the rates of attorneys engaged in

  complex litigation in Northern Virginia.” BMG Rights Mgmt. (US) LLC v. Cox Commc’ns., Inc.,

  234 F. Supp. 3d 760, 770-71 (E.D. Va. 2017) (listing opinions relying on the Vienna Metro matrix



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        In determining the reasonable number of hours and a reasonable rate, the Court has consid-
  ered the twelve-factors set out in Johnson v. Ga. Highway Express Inc., 488 F.2d 714 (5th Cir.
  1974). The fees sought by Amazon are reasonable in light of these factors. (Declaration of Saina
  S. Shamilov (“Shamilov Decl.”) ¶ 14.)



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  to determine reasonable rates and using it to determine reasonableness of rates in that copyright

  case), vacated on other grounds, No. 16-1972, No. 17-1352, No. 17-1353, 2018 WL 650316 (4th

  Cir. Feb. 1, 2018). The Vienna Metro matrix, however, provides a range of rates from 2011, and

  thus does not take into account likely increases in firm billing rates that occurred between then and

  2016, when this case began.6

         After calculating the lodestar figure, “the court must subtract fees for hours spent on un-

  successful claims unrelated to successful ones [and] award some percentage of the remaining

  amount, depending on the degree of success enjoyed by the plaintiff.” BMG, 234 F. Supp. 3d at

  766 (citations omitted). Here, no such calculation is necessary, as Amazon prevailed on all the

  asserted claims.

         Amazon’s attorney fees from July 5, 2016 to December 31, 2017 defending against this

  action total approximately                . Of that amount,                in attorney fees were in-

  curred from August 18, 2017, the date of the claim construction order, to December 22, 2017 when

  the Court entered its summary judgment order. These fees correspond to a reasonable number of

  attorney working hours given the complexity of the case, which involved eleven patents asserted

  against multiple products and resulted in two motions to dismiss, patent-specific contentions and

  claim construction briefing, extensive fact and expert discovery, summary judgment briefing, and



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        Alternatively, the Federal Circuit has approved use of the American Intellectual Property
  Association’s (“AIPLA”) annual Economic Survey to calculate reasonable rates for relevant mar-
  kets in patent cases. See View Eng’g, Inc. v. Robotic Vision Sys., 208 F.3d 981, 987-88 (Fed. Cir.
  2000) (approving use of AIPLA survey to reduce hourly rates in determining sanctions); Drone
  Techs., Inc. v. Parrot S.A., No. 2:14-cv-00111-AJS, 2015 U.S. Dist. LEXIS 98829, *12-14 (W.D.
  Pa. July 21, 2015) (applying AIPLA rates for relevant region after citing several cases that did the
  same). The modified calculations using prevailing local rates and AIPLA rates are set forth in the
  attached attorney declaration. (Shamilov Decl. at ¶¶ 3, 18-19, Ex. B; Declaration of Mary Zinsner
  (“Zinsner Decl.”) at ¶¶ 13-14, Ex. B.)




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  pretrial preparations.7 (Shamilov Decl. ¶¶ 14, 17, Ex. B; Zinsner Decl. ¶¶ 7, 10, Ex. B.) Amazon

  respectfully requests that the Court apply the lodestar method and award Amazon a full award of

  its incurred fees, or at a minimum the fees it incurred after the Court issued the claim construction

  order.

  V.       CONCLUSION

           For the foregoing reasons, Amazon respectfully requests that the Court grant Amazon’s

  motion and award it the full amount of the attorneys’ fees it incurred in defending this suit.




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       A breakdown and description of these fees is set forth in the attached attorney declarations.
  (See Shamilov Decl. ¶¶ 14-19, Ex. B; Zinsner Decl. ¶¶ 10-14, Ex. B.) Also included in the attorney
  declarations are the hourly rate ranges set forth in the 2011 Vienna Metro matrix and the 2017
  AIPLA economic survey rates for the Washington D.C. Consolidated Metropolitan Statistical
  Area. (Shamilov Decl.at ¶¶ 3, 8-10, Exs. B-C.) The rates of Amazon’s main counsel in this case,
  Fenwick & West, and local counsel, Troutman Sanders, generally fall within these ranges (see id.;
  Zinsner Decl. ¶¶ 4, 7-9, Ex. B) and are comparable to rates approved by the Court in BMG. BMG,
  234 F. Supp. 3d at 778.



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   Dated: February 14, 2018                 Respectfully submitted,

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                                  CERTIFICATE OF SERVICE


         I hereby certify that on the 14th day of February, 2018, I electronically filed the foregoing

  pleading with the Clerk of the Court using the CM/ECF System, which will then send a notification

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